                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )      Case No. 19-CR-1991-KWR
               vs.                                   )
                                                     )
ANTONIO CARRILLO,                                    )
                                                     )
                      Defendants.                    )

   UNITED STATES= NOTICE OF INTENTION TO OFFER EXPERT TESTIMONY

       The United States hereby provides the defense with notice that the United States intends

to introduce expert testimony in evidence as described in the following paragraphs during its

case-in-chief at trial. The United States provides this notice pursuant to Fed.R.Crim. P. 16, and

the Court=s Discovery Order and submits that all such evidence is relevant to the issues to be

tried before the jury in this case 1. This testimony is admissible evidence under Fed.R.Evid. 702

and 703 and the witness has Aa reliable basis in knowledge and experience@ in his discipline. As

grounds therefor, the United States advises as follows:

FBI COMPUTER EXPERT J. JOEL VANBRANDWIJK

       J. Joel van Brandwijk is a Special Agent (“SA”) of the Federal Bureau of Investigation

(“FBI”). SA van Brandwijk has a Bachelor’s degree in Computer Science and a Master’s

degree in Information Assurance, and worked full-time in the Information Technology sector for



1 This document is submitted after the normal deadline as discussed at the status conference
earlier this morning (August 6, 2020).


                                                1
thirteen years. Part of his duties at the FBI include investigating criminal violations related to

high technology or cybercrime. His CV is attached here as Exhibit 1.

       At trial, the United States expects that SA van Brandwijk would testify to render the

following opinions based on his uncommon and reliable expertise: 1) that Facebook is accessed

exclusively through the internet, which is to say it is not possible to post a comment or reply on a

Facebook discussion without accessing and using the internet to do so, 2) that Facebook makes

money through advertising revenue from interstate and foreign companies, and shows such

interstate and foreign advertisements to all users, 3) that, because of how Facebook privacy

settings work, those in other states can access the Facebook pages relevant to the instant trial, 4)

that Facebook’s privacy policy specifies that it transfers data interstate, and 5) that Facebook

routes actions such as accessing one’s own Facebook wall, sending messages, and posting on

other people’s or group’s pages/walls interstate regardless of the actual location of the sender and

recipient of the message or post.

                      ANALYSIS OF TENTH CIRCUIT PRECEDENT

       The Tenth Circuit has held that it is entirely possible for the same witness to offer both

lay or fact testimony as well as expert testimony in the same case. United States v. Caballero,

277 F.3d 1235, 1247 (10th Cir. 2002). In one case, the Tenth Circuit reversed the trial courts

exclusion of testimony regarding a drug=s street value, holding instead that trial courts should

admit testimony that would have at least a tendency to make the existence of any fact that is of

consequence to the determination of the action more or less probable than it would be without

the evidence. United States v. Rodriguez, 192 F.3d 946, 949 (10th Cir. 1999).

       The United States respectfully requests that the Court exercise its Aspecial gatekeeping


                                                  2
obligation@ and determine that the proposed testimony of the proposed witness is admissible, as

each of the witnesses has Aa reliable basis in knowledge and experience@ in his discipline. See

Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 152 (1999); see also Dodge v. Cotter Corp.,

328 F.3d 1212, 1221-22 (10th Cir. 2003), cert. denied, 540 U.S. 1003, 124 S.Ct. 533 (2003).

       It is within the broad discretion of the Court to determine the means for assessing an

expert=s reliability and to make the ultimate determination of reliability. Dodge, 328 F.3d at 1222.

Specifically, the United States asks that the Court make a finding that the testimony of the witness

Ahas a reliable basis in the knowledge and experience of [their relevant] discipline[s].@ See id.

(quoting Kumho Tire, 526 U.S. at 149). The United States respectfully requests that the Court

reserve its Areliability determination@ until the United States introduces into evidence the

experience and training of the witness at trial.

       WHEREFORE, THE UNITED STATES respectfully requests this Court allow the

above-described expert testimony and evidence to be offered in its case-in-chief at trial in this

matter and that the Court finds that the proposed testimony of the witness has a reliable basis in

knowledge and experience in their respective field.




                                                   3
       The filing of this notice in CM/ECF caused a copy to be served on Donald

Kochersberger, Esq., counsel for Defendant.

                                                  Respectfully submitted,

                                                  JOHN C. ANDERSON
                                                  United States Attorney

                                                  Filed electronically on August 6, 2020
                                                  PAUL J. MYSLIWIEC
                                                  JAYMIE L. ROYBAL
                                                  Assistant United States Attorney
                                                  P.O. Box 607
                                                  Albuquerque, NM 87103
                                                  505-346-7274




                                              4
